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                                  Samuel Louis Kleinman, Ph.D.
                                Albuquerque, NM •                 •

EDUCATION
Northwestern University, Evanston, IL                                                    2007-2012
Ph.D. in Physical/Analytical Chemistry
Thesis title: Surface-Enhanced Raman Spectroscopy of Single Molecules and Nanoaggregates
Advisor: Professor Richard P. Van Duyne
Kellogg School of Management, Northwestern University, Evanston, IL                             2010
Certificate: Management for Scientists and Engineers
8-week course on fundamentals of business and management
University of California at Berkeley, Berkeley, CA                                        2003-2007
B.S. in Chemistry

LABORATORY/SUPERVISORY EXPERIENCE
New Mexico Department of Health, Scientific Laboratory Division, Toxicology Bureau 2017-current
Albuquerque, NM
Forensic Toxicology Bureau Chief                                                   2019-current
Deputy Forensic Toxicology Bureau Chief                                              2017-2019
Managed breath alcohol, drug screening, and drug confirmation sections
Developed training materials and training plans for onboarding new analysts
Participated in senior staff meetings, budget planning, and decision making
Performed technical and administrative review on DUI casework
Oversaw external laboratory accreditation for blood alcohol analysis
Oversaw laboratory accreditation with the American Board of Forensic Toxicologists
Hired more than 20 chemist and supervisor personnel
OndaVia, Hayward, CA                                                                      2013-2017
Senior Scientist/Operations Director
Created new tests for rapid trace chemical analysis in industrial water samples
Employed surface treatments to modify bulk properties of nanoparticle substrates
Optimized surface-enhanced and normal Raman spectroscopy for sample quantification
Trained and worked with industrial users to conduct novel SERS-based chemical assays
Utilized Python and SQL to manage and analyze data as well as perform chemometrics
Authored SOPs, safety manuals, SBIR grants, and customer reports
Northwestern University, Evanston, IL
Research Associate/Postdoctoral Fellow                                                    2012-2013
Designed experiments for transcutaneous detection of peptides and small biomolecules
Sourced and assembled confocal Raman microscope
Graduate Student                                                                          2007-2012
Mastered nanoparticle and single-molecule SERS, electrochemical SERS
Used and maintained high vacuum equipment, sputtering, and metal evaporation systems
Implemented tunable ultrafast lasers for microscope-coupled spectroscopy
Utilized LabVIEW and MATLAB to conduct and analyze experiments
Analytical Services Laboratory Assistant                                                  2007-2008


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Maintained and trained new users of GC, GC-MS, HPLC-MS, LCQ, ICP, FTIR equipment
University of California, Berkeley, Berkeley, CA                                                 2005-2007
Undergraduate Research Internship
Growth and analysis of CdSe semiconductor nanoparticles

FORENSIC TOXICOLOGY COURT APPEARANCES
2nd District Court in Albuquerque, NM
Testified as expert in forensic toxicology, December 31, 2019

Farmington Municipal court in Farmington, NM
Qualified as expert in forensic toxicology, January 14, 2020

5th District Court in Roswell, NM
Testified as substitute analyst, November 19, 2019

Otero County Magistrate court in Alamogordo, NM
Qualified as expert in forensic toxicology, November 8, 2019

10th District court in Tucumcari, NM
Qualified as expert in forensic toxicology, July 11, 2019

11th District Court in Aztec, NM
Testified as substitute analyst, July 17, 2019

8th District Court in Taos, NM
Qualified as expert in forensic toxicology & evaluation of SFSTs, May 30, 2019

11th District Court in Aztec, NM
Qualified as expert in forensic toxicology, January 16, 2019

Rio Arriba County Magistrate court in Espanola, NM
Qualified as expert in forensic toxicology, July 11, 2019

McKinley County Magistrate Court in Gallup, NM
Qualified as expert in chemical and alcohol analysis (substitute analyst), January 22, 2019

Valencia County Magistrate Court in Los Lunas, NM
Qualified as expert in forensic toxicology, September 5, 2019

Sandoval County Magistrate Court in Bernalillo, NM
Qualified as expert in forensic toxicology, August 5, 2020

Los Alamos County District Court in Santa Fe, NM
Qualified as expert in forensic toxicology, September 27, 2019

1st District Court in Santa Fe, NM
Grand jury setting, expert testimony, October 1, 2019


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Los Alamos Municipal Court in Los Alamos, NM
Qualified as expert in forensic toxicology, February 6, 2019

PROFESSIONAL MEMBERSHIPS
Society of Forensic Toxicologists, Associate Member                                         2019-current
Member, Association of Public Health Laboratories                                           2017-current
PROFESSIONAL MEETINGS
American College of Medical Toxicologists, Forensic Toxicology Seminar                             2019
Society of Forensic Toxicologists, Annual Meeting                                       2018 & 2019
American College of Medical Toxicologists, Annual Scientific Meeting                               2018
California Association of Toxicologists Semi-Annual Meeting                                        2017

TRAINING MODULES & CLASSES
Applied Pharmacokinetics, 15-hour online course                                                    2020
Administered by Center for Forensic Science Research and Education
Driving High, the Emerging DUI                                                                     2019
Presented by the Association of Public Health Laboratories
The Robert F. Borkenstein Course on Alcohol and Highway Safety                                     2018
The Robert F. Borkenstein Course on The Effects of Drugs on Human Performance and Behavior         2017
Forensic Pharmacology, 3-day online course                                                         2017
Administered by Center for Forensic Science Research and Education
Intoxilyzer 8000 Breath Alcohol Analysis Instrument Operation, Maintenance, & Calibration          2020
Presented by CMI, Inc. and hosted at SLD
2020 Online Symposium: Current Trends in Forensic Toxicology, 15-hour online course                2020
Administered by Center for Forensic Science Research and Education
New Mexico Drug Recognition Expert Workshop and Demonstration                                      2019
Presented by NMDRE State coordinator and hosted by Samuel Kleinman
Intoxilyzer 8000 Training                                                                          2019
Presented by Eleanore Leichtenberg and hosted at SLD
Thermo Scientific Unity Orbitrap Training, 3-day intensive course                                  2018
On-site at New Mexico Scientific Laboratories
Session I: The synthetic Drug Crisis – Identifying NPS in Forensic Casework                        2018
Webinar hosted by National Institute of Justice
Living In a Union Environment                                                                      2018
Presented by Sandy Martinez, Labor Relations Division Director, NM State Personnel Office
Essentials for Supervisors, 4-day intensive course                                                 2018
Hosted by David Markwardt Consulting at NMDOH


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PUBLICATIONS/PATENTS
Kleinman, S. L.; Peterman, M. C.; Benhabib, M.; Cheng, M. T.; Hudson, J. D.; Mohler, R. E. “Rapid
Quantification of 4,4’-Methylenedianiline by Surface-Enhanced Raman Spectroscopy” Anal. Chem., 2017,
89, 13190—13194
Kleinman, S. L.; Frontiera, R. R.; Henry, A.-I.; Dieringer, J. A. and Van Duyne, R. P. “Creating,
characterizing, and controlling chemistry with SERS hot spots” Phys. Chem. Chem. Phys., 2013, 15, 21—
36
Kleinman, S. L.; Sharma, B.; Blaber, M.G.; Henry, A.-I.; Valley, N.; Freeman, R. G.; Natan, M. J.; Schatz,
G. C. and Van Duyne, R. P. “Structure Enhancement Factor Relationships in Single Gold Nanoantennas by
Surface-Enhanced Raman Spectroscopy” J. Am. Chem. Soc., 2012, 135, 301—308
Fahrenbach, A. C.; Sampath, S.; Late, D. J.; Barnes, J. C.; Kleinman, S. L.; Valley, N.; Hartlieb, K. J.; Liu,
Z.; Dravid, V. P.; Schatz, G. C.; Van Duyne, R. P.; Stoddart, J. F. “A Semiconducting Organic Radical
Cationic Host-Guest Complex” ACS Nano, 2012, 6, 9964—9971
Kleinman, S. L.; Ringe, E.; Valley, N.; Wustholz, K. L.; Phillips, E.; Scheidt, K. A.; Schatz, G. C. and Van
Duyne, R. P. “Single-Molecule Surface-Enhanced Raman Spectroscopy of Crystal Violet Isotopologues:
Theory and Experiment” J. Am. Chem. Soc., 2011, 133, 4115—4122
Paxton, W. F.; Kleinman, S. L.; Basuray, A. N.; Stoddart, J. F. and Van Duyne, R. P. “Surface-Enhanced
Raman Spectroelectrochemistry of TTF-Modified Self-Assembled Monolayers” J. Phys. Chem. Lett. 2011,
2, 1145—1149
Kleinman, S. L.; Bingham, J. M.; Henry, A-I.; Wustholz, K. L. and Van Duyne, R. P. “Structural and
Optical Characterization of Single Nanoparticles and Single Molecule SERS” Proceedings of SPIE, 2010,
7757, 77570J-1—77570J-10
Wustholz, K. L.; Henry, A-I.; Bingham, J. M.; Kleinman, S. L.; Natan, M. J.; Freeman, R. G.; Van Duyne
R. P. “Exploring Single-Molecule SERS and Single-Nanoparticle Plasmon Microscopy,” In Plasmonics:
Metallic Nanostructures and Their Optical Properties VII, Proceedings of SPIE, 2009, 7394, 739403-1–
739403-10
Dieringer, J. A.; Wustholz, K. L.; Masiello, D. J.; Camden, J. P.; Kleinman, S. L.; Schatz G. C.; Van Duyne,
R.P. “Surface-Enhanced Raman Excitation Spectroscopy of a Single Rhodamine 6G Molecule,” J. Am.
Chem. Soc. 2008, 131, 849—854
Peterman, M.C.; Benhabib, M.; Kleinman, S. L. “Portable Water Quality Instrument” US Patent Grant #
10247673, 10254229
Peterman, M.C.; Benhabib, M.; Ariza, C. A.; Kleinman, S. L. “Measuring concentration of analytes in
liquid samples using surface-enhanced Raman spectroscopy” US Patent Grant # 9863824, 10444216
POSTERS
Kleinman, S. L.; Wustholz, K.; Valley, N.; Ringe, E.; Phillips, E.; Scheidt, K.; Schatz, G.; Van Duyne, R.
P. “Isotope-edited Single-molecule Surface-enhanced Raman Spectroscopy of Crystal Violet,” 240th ACS
National Meeting; Boston, MA. 2010
Dieringer, J.; Wustholz, K.; Phillips, E.; Kleinman, S. L.; Scheidt, K. A.; R.; Van Duyne, R. P. “New
Isotope-Edited Chromophores for Single-Molecule Surface-Enhanced Resonance Raman Spectroscopy,”
Materials Research Science and Engineering Center Annual Meeting; Evanston, IL. 2008




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Wustholz, K.; Dieringer, J.; Kleinman, S.; Van Duyne, R. P. “Wavelength-Scanned Single-Molecule
Surface Enhanced Raman Spectroscopy,” Gordon Conference on Vibrational Spectroscopy; South Hadley,
MA. 2008
SERVICE
Big Brother, Big Brothers Big Sisters of Central New Mexico                             2017-2018
Member, NU Chemistry Department Graduate Liaison Committee                              2008-2012
Social Chair, Phi Lambda Upsilon, Alpha Gamma Chapter                                   2010-2011
Participant, ‘All Scout Nano-Day’                                                       2008-2013
Organizer, ‘All Scout Nano-Day’                                                              2009




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